A'ITORNEYS AT LAW
, Sizite 120, Henderson, Nevada 89074
Telephone: (702) 451-2055 Facsimi|e (702] 451-2077

245081;Rose

--.IO\

00

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Case 2:18-cV-00187-.]AD-GWF Document 19 Filed 05/24/18 Page 1 of 8

P. STERLING KERR, ESQ.

Nevada Bar No. 3978

GEORGE E. ROBINSON, ESQ.
Nevada Bar No. 9667

LAW OFFICES OF P. STERLING KERR
2450 St. Rose Parl<Way, Suite 120
Henderson, Nevada 89074
Telephone No. (702) 451-2055
Facsimile No. (702) 451~2077
Email: Sterling@sterlingkerrlaw.com
Email: george@sterlingkerrlaw.com
Attor"neysfor Plaintijfs

UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA

INTERNATIONAL MARKETS LIVE,

INC., a NeW Yorlc corporation;

CHRISTOPHER TERRY, an individual;
Plaintiffs,

V.

Case No.: 2:18-cv-00187-JAD-GWF

FIRST AMENDED COMPLAINT
FOR:

1) DEFAMATION PER SE
2) TRADE LIBEL
3) TORTIOUS INTERFERENCE

 

 

SCOTT CARNEY, an individual; ETHAN WITI-I CONTRACTUAL
VANDERBUILT, an individual; RELATIONS
4) TORTIOUS INTERFERENCE
Defendants. WITH PROSPECTIVE
ECONOMIC ADVANTAGE

 

 

COMES NOW, Plaintiffs by and through their attorneys, the LaW Offices ofP. Sterling
Kerr, and complains and alleges against Defendants SCOTT CARNEY (hereinafter “Carney”)
and ETHAN VANDERBUILT (hereinafter “Vanderbuilt”), (collectively “Defendants”) as
follows: f j
THE PARTIES

1. Plaintiff INTERNATIONAL MARKETS LIVE dba iMARKETSLIVE (hereinai”cer
“IML”) is, and at all times relevant herein Was, a NeW York corporation

2. Plaintiff TERRY is an individual and is, and at all times relevant, a Nevada resident

3. Upon information and belief, Defendant CARNEY is an individual and a Florida
resident

4. Upon information and belief, Defendant VANDERBUILT is an individual and a

California residentl

Page l of 7

 

-|>~L)J[\.)

\QOO--.JO\M

10
11
12
13
14
15
16
17
is
19
20
21
22
23
24
25
26
27
23

 

 

Case 2:18-cV-00187-.]AD-GWF Document 19 Filed 05/24/18 Page 2 of 8

JURISDICTION AND VENUE

5. This Court has diversity subject matter jurisdiction of this action. The Court has
diversity jurisdiction under 28 Q.S.C. § 1332 because no Plaintiffs and Defendants are not
residents of the same state, and because the amount in controversy, exclusive of interest and
costs, exceeds seventy-five thousand dollars ($75,000.00).

6. Venue is proper as TERRY is a resident of the state ofNevada.

GENERAL ALLEGATIONS

7. Upon information and belief, CARNEY controls a company called Harmonic Trader
Which makes trades for individuals on the foreign currency (“Forex”) markets.

8. In February of 2016, CARNEY travelled to Las Vegas, Nevada to meet With
Plaintiffs regarding Forex trading techniques

9. While in Las Vegas, Nevada, TERRY and CARNEY record online videos regarding
Forex trading from TERRY’s Las Vegas residence.

l(). Since this time, the relationship between Plaintiffs and CARNEY has degraded to
CARNEY publishing tortious statements regarding Plaintiffs on his Websites and social
media

ll. CARNEY has sent threating emails to Plaintiffs stating that if at least $50,000.00 is
not paid to CARNEY, he Will “go on the offensive” implying that he Will make allegations of
IML) Wrongdoing to federal authorities

12. Shortly after these threats Were made, CARNEY posted derogatory statements
against Plaintiffs in the comments section of HALTERMAN’s Facebook page.

13. CARNEY filed a false Complaint With the Commodities Futures Trading
Commission on or about the beginning of lanuary 2018.

14. On or about January 19, 2018, CARNEY posts, “IML Federal lnvestigation in FULL
SWING! That's all l cansay.”

15 . On or about March 10, 2018, CARl\liEY posts, “Harmonic Traitor Update:
iMarketsLive has filed a $4rnillion defamation lawsuit against myself and 3 other individuals

They know that l have a $100 mil ip civil suit in the Works! But Chris, BIG MISTAKE!

Page 2 of 7

 

unth

\DOO---.`IO\

10
11
12
13
14
15
16
17
is
19
20
21
22
23
24
25
26
27
23

 

 

Case 2:18-cV-00187-.]AD-GWF Document 19 Filed 05/24/18 Page 3 of 8

These deceit that you so easily employ to grow your scheme in the name of my work is over!
l am filing both a SLAAP and countersuit, just in time for the big iml Vegas Expo. lf you an
iml affiliate, DELETE ME NOW and the REAL Harmonic TRADERS can stay tuned.
#HarmonicTakeover #imarketslive #ClirisTerry #harmonictraitors #GetYoPopcorn”

16. On or about April 4, 2018, CARNEY posts, “Just reed 2nd complaint from
imarketslive - serving me papers twice on their $4million defamation lawsuit At this point,
it's harassment lf you are in iml, iml group or affiliated or know someone who is, you need to
know that your so-called leaders are suing the very guy (ME) who created the work they are
copying If you have any respect for me, my work and most important YOURSELF, LEAVE
IML NOW! Any iml member or rep that sends me a confirmed cancellation of imarketslive
membership will get GOLD MEMBERSHIP and SOFTWARE FREE 30~days. Send to
ht@ht.com #l-IarmonicTakeover #Dryland #HarmonicKarma #CFTCBitch
#3 0daystilimarketslivetakedown”

17. On or about March 16, 2018, CARNEY posts, “What‘s #HarmonicTakeover? The
#iml Titanic! Have fun rising in Vegas as you hit the iceberg while l watch from dry land!
30Days.”

18. On or about March 19, 2018, CARNEY posts, “HTAffiliate Program Starts this week!
No fees. No reps req. JUST EARN WITH l\/[E! Comment "#imlTitantic" below for info!”

19. On or about May 22, 2018, CARNEY posts, “#CFTC - Playtime is overt
#DRYLAND” J_ j

20. On or about May 24, 2018, CARNEY posts, “Setting the harmonic pattern record
straight next Week! Million$ lawsuits, iml smack, programmer crooks&l\/IY TRUTH! lt
changes now!”

21. On or about April 3, 2018, CARNEY posts, “The OFFICIAL Harmonic Trader
Platform for MetaTrader4 (MT4) is coming in 10days! !! #l-larmonicTakeover #imlwho?
#DryLand.”

22. VANDERBUILT publishes derogatory and false remarks about Plaintiffs on his

website www.ethanvanderbuilt.corn.

Page 3 of"!'

 

 

10
11
12
13
14
15
16
17
13
19
20
21
22
23
24
25
26
27
23

 

 

Case 2:18-cV-00187-.]AD-GWF Document 19 Filed 05/24/18 Page 4 of 8

23. VANDERBUILT states on his website that IML is a “scam” and accuses IML of not
adhering to federal rules and regulations

24. Upon information and belief, there are other harmful statements against Plaintiffs
published on websites controlled by the Defendants.

FIRST CLAIM FOR RELIEF
(Defamation Per Se against Defendants)

25. Plaintif`fs incorporate by reference and reaffirm each and every allegation previously
asserted as if fully set forth herein.

26. The statements, as cited in the general allegations, tend to harm the reputation of the
Plaintiffs in the estimation of the community and deter third persons from associating or dealing
with Plaintiffs.

27. The statements, as cited in the general allegations, are false.

28. The statements, as cited in the general allegations, were intentionally published on the
internet.

29. The statements, as cited in the general allegations constitute the imputation that
Plaintiffs have committed a crime; and/or Plaintiffs lack of fitness for trade, business, or
profession

30. As a direct and proximate result of Defendants’ defamatory acts, Plaintiff has been
harmed in amount in excess of one million dollars ($1,000,000.00).

3 l. It has been necessary for Plaintiffs to retain the services of an attorney to prosecute this
action and, therefore, Plaintiff is entitled to reasonable attorney’s fees and costs, prejudgment
interest and such other and further relief the court deems proper resulting from this action

SECONI) CLAIM FOR RELIEF
(Trade Libel against Def`endants)

32. Plaintiffs incorporate by reference and reaffirm each and every allegation previously
asserted as if billy set forth herein j
33. The statements, as cited in the general allegations, about the Plaintiffs were

published on the internet.

Page 4 of’7

 

Lh-l>~b~)[\.)

\DOO-~.`.|O\

10
11
12
13
14
15
16
17
13
19
20
21
22
23
24
25
26
27
23

 

 

Case 2:18-cV-00187-.]AD-GWF Document 19 Filed 05/24/18 Page 5 of 8

34. The statements, as cited in the general allegations, disparage the quality of ll\/IL’s and
trading services and TERRY’s trading acumen

35 . The statements, as cited in the general allegations, are false.

36. The statements, as cited in the general allegations, were intentionally published on the
internet.

37. As a direct and proximate result ofDefendants’ trade libel, Plaintiffs have been harmed
in amount in excess of one million dollars ($1,000,000.00).

3 8. lt has been necessary for Plaintiffs to retain the services of an attorney to prosecute this
action and, therefore, Plaintiffs are entitled to reasonable attorney’s fees and costs, prejudgment
interest and such other and further relief the court deems proper resulting from this action

THIRD CLAIM FOR RELIEF
(Tortious Interf'erence With Contractual Relations
against ])efendants)

39. Plaintiff IML incorporates by reference and reaffirms each and every allegation
previously asserted as if fully set forth herein

40. Plaintiff IML had contractual relationships with customers and individual
representatives who desired participate in receiving educational products for Forex markets.

41. Defendants know of these relationshipsl

42. Defendants spread false information and affirmatively filed false complaints with
regulators with the intent of disrupting Plaintiff”s relationships with its customers

43. Defendants’ conduct Was not legally justified

44. As a direct and proximate result of Defendants’ interference with lML’s contractual
relationships, Plaintiff has been harmed in amount in excess of one million dollars
($1,000,000.00).

45 . lt has been necessary for Plaintiff to retain the services of an attorney to prosecute this
action and, therefore, Plaintiff is entitled to reasonable attorney’s fees and costs, prejudgment
interest and such other and further relief the court deems proper resulting from this action

///

Page 5 0f'7

 

\DOO‘--JO\

10
11
12
13
14
15
16
17
13
19
20
21
22
23
24
25
26
27
23

 

 

Case 2:18-cV-00187-.]AD-GWF Document 19 Filed 05/24/18 Page 6 of 8

FOURTH CLAIM FOR RELIEF
(Tortious Interference with Prospective Economic Advantage
against ])efendants)

46. Plaintiff IML incorporates by reference and reaffirms each and every allegation
previously asserted as if fully sei forth herein’.l

47. Plaintiff IML had prospective contractual relationships with customers and
individual representatives who desired participate in receiving educational products for Forex
markets

48. Defendants know of these prospective relationships

49. Defendants spread false information and affirmatively filed false complaints with
regulators with the intent to preventing and inhibiting Plaintiff`s relationships with the
prospective customers

50. Defendants’ conduct was not legally justified.

51. As a direct and proximate result of Defendants’ interference with the prospective
customer relationships Plaintiff has been harmed in amount in excess of one million dollars
($1,000,000.00).

52. lt has been necessary for Plaintiff to retain the services of an attorney to prosecute this
action and, therefore, Plaintiff is entitled to reasonable attorney’s fees and costs, prejudgment

interest and such other and further relief the court deems proper resulting from this action

///
///
///
//f

Page 6 0f7

 

 

‘--.lO\\.h-ld~b~)l\)

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 2:18-cV-00187-.]AD-GWF Document 19 Filed 05/24/18 Page 7 of 8

W'HEREFORE, PLAINTIFF PRAYS FOR
THE FOLLOWING RELIEF AGAINST DEFENDANTS:

l. For Damages in an amount greater than $1,000,000.00 as a result of Defendants’
defamatory and tortious actions;

2. For injunctive relief to enjoin the Defendants from committing the defamatory and
tortious actions;

3. For an award of pre-judgment interest as well as reasonable attorneys’ fees as both
normal and special damages, and other costs; and

4. For such other and further relief that this Court deems just and proper.

Dated this 24th day of May, 2018 l
LAW OFFICES OF P. STERLING KERR

/3/ Georgef. Roi)c'/v\aow

P. STERLING KERR, ESQ.

Nevada Bar No. 3978

GEORGE E. ROBINSON, ESQ.
Nevada Bar No. 9667

LAW OFFICES OF P. STERLING KERR
2450 St. Rose Parkway, Suite 120
Henderson, Nevada 89074
Telephone No. (702) 451-2055
Facsimile No. (702) 451-2077
Email: sterling@sterlingkerrlaw.com
Email: george@sterlingkerrlaw.com
Atl'orneys for Plaim#fs

 

Page 7 of7

 

thth

‘-IO\

10
ll
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 2:18-cV-00187-JAD-GWF Document 19 Filed 05/24/18 Page 8 018

CERTIFICATE OF SERVICE
The undersigned hereby certifies on May 24, 2018, a true and correct
copy of the FIRST AMENDED COMPLAINT was served to the following at their last
known address(es), facsimile numbers and/or e-mail/other electronic means, pursuant to:
X BY E-MAIL AND/OR ELEC'I`RONIC MEANS: N.R.C.P.
5(b)(2)(D) and addresses (s) having consented to electronic service, 1

via e-mail or other electronic means to the e-mail address(es) of the
addressee(s).

 

DANIEL R. MCHUTT (SBN 7815)
MATTHEW C. WOLF (SBN 10801)
MCNUTT LAW FlRl\/I, P.C. “'

625 South Eighth St.

Las Vegas, NV 89101

drrn@mcnuttl awf"irin .com
mcm(c`i)nicnuttlawfirrn.coin
Atfomeys for Defendant

Adam Wolek (pro hac vice pending)
Taft Stettinius & Hollister LLP

11 E. Wacker Dr., Suite 2800
Chicago, lL 60601

awolek Zi>taftl.aw~com

 

532 ZM' figgva
An employee of the LAW OFFICES OF
P. STERLING KERR

Page 1 of 1

 

